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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 ---------------------------------------------------------X
 LING CHEN,
 on his own behalf and on behalf of others similarly situated
                                     Plaintiff,                    Case No. 19-cv-07313
                                     v.
 ASIAN TERRACE RESTAURANT, INC.
          d/b/a Asian Terrace;
 ASIAN MOON OF MASSAPEQUA PARK, INC.
          d/b/a Asian Moon; and
 ASIAN MOON RESTAURANT CORP
          d/b/a Asian Moon;
 VICKIE SUE LI

                                              Defendants.
 ---------------------------------------------------------X


                      DECLARATION OF JOHN TROY IN SUPPORT OF
                       MOTION FOR ATTORNEYS’ FEES AND COSTS



        Pursuant to 28 U.S.C. § 1746, I, John Troy, declare under penalty of perjury that:

    1. I respectfully submit this declaration in support of Plaintiffs' Application for Fees and Costs.

    2. The facts herein are based on my personal knowledge and my review of pleadings related

to this case and the business records of Troy Law, PLLC (“Troy Law”).

    3. I am the principal of Troy Law and counsel of record for Plaintiffs in this action. I am

admitted to practice before this Court.

    4. The facts herein are based on my personal knowledge and my review of the docket and

case file of this case and the business records of Troy Law, PLLC.

    5. I have represented the Plaintiffs in the instant action under the Fair Labor Standards Act

(“FLSA”) and the New York Labor Law (“NYLL”) from the commencement of this action in the
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Southern District of New York on September 10, 2016 with the filing of the Complaint. See Docket

Entry (hereinafter “DE”) No. 1 (Jan. 9, 2020).

   6. Attorney Andrea Batres of Bell Law Group, PLLC entered her appearance as counsel on

behalf of all Defendants on February 18, 2020. See DE No. 15 (Feb. 18, 2020).

   7. Defendants filed their Answer and Affirmative Defenses to the Complaint on March 10,

2020. See DE No. 20 (Mar. 10, 2020).

   8. Plaintiff filed the opening brief of his Motion for Conditional Collective Class Certification

on April 8, 2020. See DE 27 (Apr. 8, 2020).

   9. Plaintiff’s Motion was granted in part on July 17, 2020. See DE 35 (Jul. 17, 2020).

   10. This Court denied Defendant’s Motion for Extension of Time to Provide the Name List,

and in this order, noted that “This motion has all the indicia of an effort to unreasonably delay this

action. In fact, defendants and their counsel have done little in this case to participate except

request extension after extension. Now that the case has taken a turn south for defendants, the

Court is advised of a sudden breakdown in the attorney-client relationship (with no more detail)

that seeks to excuse defendants indefinitely from the obligation this Court ordered for them to

produce the required collective action information. To make it worse, the motion has been filed on

the last day to produce the information, a Friday night after close of business, thereby necessarily

causing delay whether the Court grants the motion or not.” (Aug. 7, 2020).

   11. In that Order, the Judge gave judicial notice that “Because defendants and their counsel

have demonstrated little interest in resolving this action on a timely basis and it is not at all clear

that if a judgment is entered against them, they will have available resources or willingness to pay

it, the Court Orders, pursuant to Local Civil Rule 54.2, that they shall post a bond for costs in the

amount of $2000 with the Clerk of the Court, and shall file notice in this action that they have done
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so by 8/14/20. Failure to post the costs bond shall result in striking their answer and entering default

against them.”

     12. On August 14, 2020, Andrea Batres filed her ex-parte Motion to Withdraw. See DE No. 37

(Aug. 14, 2020).

     13. On August, 17, 2020, this Court granted Batres’ Motion to Withdraw “based on

irreconcilable breakdown in communication with her clients and their failure to pay legal fees.” See

DE 38 (Aug. 17, 2020).

     14. In that same order, this Court judicially noted that “because defendants have failed to

comply with [the] Order to post a costs bond upon penalty of default, their answer is stricken.”

See id.

     15. Plaintiff’s Motion for Default Judgment is currently pending before this Court.


I.        Attorneys’ Fees Incurred

     16. Troy Law, PLLC has represented Plaintiff in this action from the initial intake meeting

with Plaintiff until the present day.


          A.     Contemporaneous Time Records

     17. Throughout this time, I have kept contemporaneous time records of the hours I have

expended on this matter including the dates of services performed, the tasks I undertook in

performing such services, and the hours and portions thereof used to perform such services. I have

dedicated a database exclusively to maintaining such contemporaneous time records.

     18. Additionally, I have instructed, supervised, and ensured that all associates and employees

of Troy Law, PLLC keep contemporaneous time records of the hours they have expended on this

matter including the dates of services performed, the tasks they undertook in performing such
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services, and the hours and portions thereof used to perform such services, in the dedicated

database described above, used exclusively for maintaining such contemporaneous time records.

   19. Attached hereto as Exhibit 1 is the Time and Billing record of time spent herein, indicating

the dates of services performed, the tasks undertaken in performing such services, and the hours

or portions thereof used to perform such services.

   20. Here, I outline the professional qualifications and biography of office staff who appeared

on the Attorney Invoice.


       B.      Experience and Professional Qualification of Office Staff


   1. John Troy
   21. I am the principal of Troy Law, PLLC and have represented Plaintiffs Jianhui Hu,

Zhizhong Liu, Jinquan Yin, Xing Xing, and Yanfeng Cheng since the inception of this lawsuit. I

am a 1985 LLM graduate of Dickinson School of Law. I was admitted to the bar of the State of

New York in 1989.

   22. I have been a self-employed small business owner since 1989. As the principal attorney of

Troy Law, I have continuously represented low-income individuals, most of them Mandarin-

speaking immigrants, in wage-and-hour and employment discrimination cases before the United

States District Courts for the Eastern and Southern Districts of New York and before the New

York Supreme Court, Commercial Division, as well as pro hac vice before the United States

District Courts for the District of Massachusetts, for the District of Connecticut, for the Northern

and Western Districts of New York, for the District of New Jersey, for the District of Pennsylvania,

for the District of Illinois, for the District of Minnesota, and for the District of West Virginia.

   23. Troy Law spearheads the nation’s wage and hour employment litigation advocacy.
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   24. We are one of the largest firms in case load in the nation’s Fair Labor Standards Act wage-

and-hour litigation, and the largest firm in case load for the Chinese-American immigrant

community.

   25. I am the attorney of record for at least one hundred sixty five (165) wage-and-hour matters

in the Eastern District of New York, including:

           •   1:20-cv-03667-MKB-RML Cui et al v. D Prime, Inc.
           •   1:20-cv-02749-MKB-SMG Ye et al v. Fuji Hana Restaurant Corp et al
           •   1:20-cv-02746-WFK-SMG Lin v. JD Produce Maspeth LLC et al
           •   2:20-cv-02736-DRH-AYS Singh et al v. All Empire Building Contractors Inc. et al
           •   1:20-cv-02637-RPK-RML Leong v. Laundry Depot, LLC et al
           •   1:20-cv-02266-PKC-VMS Han v. Shang Noodle House, Inc. et al,
           •   1:20-cv-01597-ARR-RLM Loh v Kong Kee Food Corp. et al,
           •   1:20-cv-00640-KAM-RER Cooper-Nolasco v. Royal Waste Services, inc et al,
           •   2:19-cv-07313 Chen v. Asian Terrace Restaurant Inc et al.,
           •   1:19-cv-07312 Pascualito v. Musano et al.,
           •   1:19-cv-07304 Tang et al v. Happy Food Restaurant Inc et al
           •   1:19-cv-07290-ARR-ST Almazo-Ramirez et al v. Ulises Pharmacy, Inc. et al
           •   2:19-cv-07269-AMD-SMG Shen et al v. Zentao Inc et al
           •   1:19-cv-07267-BMC Panora v. Deenora Corp et al
           •   1:19-cv-07266-AMD-SJB Zhang v. Wan Hao Restaurant Inc. et al,
           •   1:19-cv-05458-ENV-JO Stidhum v. 161-10 Hillside Auto Ave, LLC et al,
           •   1:19-cv-05203-CBA-SJB Yang v. Zhou's Yummy Restaurant, Inc. et al,
           •   1:19-cv-04745-MKB-CLP Caicedo Soto v. Miss Laser, Inc. et al,
           •   1:19-cv-04687-PKC-SMG Singh et al v. Golam Mowla Construction, Corp. et al,
           •   2:19-cv-03653-JS-ARL Guo v. JR Asian Fusion Inc et. al.,
           •   2:19-cv-03545 Leong v. Laundry Depot, LLC et al,
           •   2:19-cv-03276 Chen v. LJC Trading New York, Inc. et al,
           •   2:19-cv-03269 Ni v. Red Tiger Dumpling House, Inc. et al,
           •   2:19-cv-03266-JS-GRB Xu v. Kingstech Technologies, LLC. et al,
           •   1:19-cv-03236 Yang v. An Ju Home, Inc. et al,
           •   1:19-cv-03149-LDH-RER Hong v. Mito Asian Fusion, Inc. et al,
           •   1:19-cv-01625-ARR-SMG Stidhum et al v. 161-10 Hillside Auto Ave, LLC et al;
           •   2:19-cv-00630-JS-GRB Chen v. Glow Asian Food, Inc. et al;
           •   2:18-cv-07001 Yu et al v. Kim;
           •   1:18-cv-06616 Xing v. Mayflower International Hotel Group Inc et al
           •   2:18-cv-06614 Gu v. Lemonleaf Thai Restaurant Mineola Corporation et al
           •   1:18-cv-06317-ENV-PK Pan et al v. Nutrition Rite Corporation et al
           •   1:18-cv-05624-ARR-VMS Jiao et al v. Shang Shang Qian Inc et al
           •   2:18-cv-05256 Kiang v. Yummy Oriental Restaurant, Inc. et al,
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        •   2:18-cv-05091 Chiu v. American Yuexianggui of LI LLC et al,
        •   1:18-cv-04615 Zhang v. BrightRay Dental, P.C. et al,
        •   1:18-cv-04614 Li v. Kingly Coach, Inc et al,
        •   1:18-cv-04086 Wei v. Red Panda Asian Bistro Inc et al,
        •   1:18-cv-04085 Wei v. Jing Fu House, Inc. et al,
        •   2:18-cv-03923 Her v. Song’s Family Food 2 Inc et al
        •   2:18-cv-03817 Huang et al v. Gel Factory, Corp. et al,
        •   2:18-cv-03266 Wang v. Mandarin Glen Cove, Inc. et al,
        •   2:18-cv-03249 Lin v. Lumix Hibachi Restaurant, Inc. et al,
        •   1:18-cv-03246 Lin et al v. New Fresca Tortillas, Inc. et al,
        •   1:18-cv-00886 Lin et al v. Shanghai Original, Inc. et al,
        •   1:18-cv-00729 Yang et al v. Everyday Beauty Amore Inc et al,
        •   1:18-cv-00417 Zhu v. Wanrong Trading Corp.,
        •   1:18-cv-00253 Zheng et al v. Panarium Kissena Inc. et al,
        •   1:17-cv-07603 Suarez Castaneda et al v. F&R Cleaning Services Corp,
        •   1:17-cv-07601-ARR-SMG Zeng v. The Parc Hotel LLC Summons Issued et al,
        •   1:17-cv-07600 Shum v. JILI Inc et al,
        •   2:17-cv-07598 Hsieh v. Revive Nails Spa Corp et al,
        •   1:17-cv-7547 Zhuang et al v. Huis Garden Restaurant Inc et al,
        •   1:17-cv-7509 Xie v. Sakura Kai I Inc. et al,
        •   1:17-cv-6648 Liu v. DSM Laundromat Inc. et al,
        •   1:17-cv-6563 Bi v. Guan Dong Yi Jia, Inc. et al,
        •   1:17-cv-06464 Yip v. McDonald’s Corporation et al,
        •   1:17-cv-05571 Gao v. Strong America Limited et al,
        •   1:17-cv-05570 Du v. Ma Roo, Inc. et al,
        •   2:17-cv-04358 Lin v. Kerdniyom v. Frankie Thais Inc. et al et al,
        •   2:17-cv-04357 Lin v. Autumn Sky Enterprise Corp. et al,
        •   1:17-cv-04202-ADS-AYS Yu et al v. Kotobuki Restaurant, Inc. et al,
        •   1:17-cv-03903-DLI-PK Zhang v. Pur Pac Inc.,
        •   1:17-cv-03882-RJD-RML Lin v. Amway Corp.,
        •   1:17-cv-03808-CBA-RER Chen v. Dunkin’ Brands, Inc.,
        •   1:17-cv-03737 Lin v. Monda Window & Door Systems, Inc. et al,
        •   1:17-cv-03435-WFK-SMG Lin v. Joe Japanese Buffet Restaurant Inc. et al,
        •   1:17-cv-03181-PKC-JO Huang v. GW of Flushing I, Inc. et al,
        •   1:17-cv-03043-DLI-JO Lin v. Quality Woods, Inc. et al,
        •   2:17-cv-02759-JS-AKT Wu v. Amazon.com, Inc. et al,
        •   1:17-cv-02558-ARR-RER Loo v. I.M.E. Restaurant Inc. et al,
        •   1:17-cv-02539-ERK-RER Chia et al v. Bangkok Thai Cuisine, Inc. et al,
        •   1:17-cv-02174-KAM-JO Hong et al v. 7 Express Restaurant Corp. et al,
        •   1:17-cv-01044-CBA-SMG Lin v. Rising Sun Restaurant, Inc. et al,
        •   1:17-cv-01015-JBW-RML Li v. Western Metal Work & Supply, Inc. et al,
        •   1:17-cv-00646-WFK-RML Plasencia Sanchez et al v. Vital Drugs, Inc. et al,
        •   1:17-cv-00643-ENV-SMG Zhou v. Golden Leaf Sky, Inc. et al,
        •   1:16-cv-06490-ARR-ST Almazo-Ramirez v. Santo Domingo Pharmacy Inc. et al,
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          •   1:16-cv-06123-CBA-RER Buestan v. Gal Bi Ma Eul, Inc. et al,
          •   1:16-cv-05633-ARR-JO Jin et al v. Shanghai Original, Inc. et al,
          •   2:16-cv-05316-SJF-AKT Qu v. Wendy Nail & Spa Inc. et al,
          •   1:16-cv-05185-ERK-JO Shi v. DXN Mike Corporation et al,
          •   1:16-cv-05184-AMD-RML Liu et al v. VMC East Coast LLC et al,
          •   1:16-cv-04840-WFK-LB Sun et al v. Sushi Fussion Express, Inc. et al,
          •   1:16-cv-04720 Xu et al v. Jessica Holding, Inc. et al,
          •   1:16-cv-04587-AMD-RML Zhang v. DHC NY Corp et al,
          •   1:16-cv-03970-PKC-RER Zhang v. Gal Bi Ma Eul, Inc. et al,
          •   1:16-cv-03712-RJD-RML Wei v. Penang House, Inc. et al,
          •   1:16-cv-03254-NGG-RML Qi v. Hunan Kitchen Flushing Inc. et al,
          •   1:16-cv-02907-ARR-VMS Valera v. Law Office of S. Michael Musa-Obregon, P.C
          •   1:16-cv-02694-RRM-RML Jiao v. Kitaku Japanese Restaurant, Inc. et al,
          •   1:16-cv-02474-AMD-RML Lin et al v. The Dolar Shop Restaurant Group, LLC et
     al
         • 2:16-cv-01354-ADS-SIL Davis v. Cheng et al,
         • 2:16-cv-01353-LDW-AKT Yang et al v. Flushing Food, Inc. et al,
         • 2:15-cv-07440-LDW-ARL Zhang et al v. XYZ Limousine, Inc. et al,
         • 2:15-cv-07439-LDW-AYS Gao v. Yellowstone Transportation, Inc. et al,
         • 1:15-cv-07438-KAM-VMS Piao v. Main 15 Lee, LP et al,
         • 2:15-cv-07398-JMA-GRB Chen v. Kyoto Sushi, Inc. et al,
         • 2:15-cv-07396-AKT Singh v. A & A Market Plaza, Inc. et al,
         • 1:15-cv-06399-KAM-PK Qin v. Sensation Neo Shanghai Cuisine, Inc. et al,
         • 2:15-cv-06206-JMA-AYS Chen v. Marvel Food Services LLC
         • 2:15-cv-05081-SLT-MDG Sanchez Juarez et al v. 156-40 Grill LLC et al
         • 2:15-cv-05080-LDW-ARL Leong v. Utopia Home Care, Inc. et al
         • 1:15-cv-04987-LDH-MDG Wang v. Ping An Jia Yuan Family Care Services, Inc.,
         • 1:15-cv-04917-CBA-MDG Yang v. Richmond Hill Laundry, Inc. et al,
         • 1:15-cv-04363-ILGSMG Tam et al v. Star Nissan, Inc. et al (challenging racial
     employment discrimination where English-speaking Chinese car salesmen were allowed
     to sell to Chinese-speaking customers only, while other car salesmen can make sales to all
     clients, as well as minimum wage and overtime violations where salary paid is less than
     one-and-one-half times the minimum wage)
         • 2:15-cv-04194-JMA-SIL Ji v. Jling Inc. et al.
         • 1:15-cv-03642-WFK-CLP Luo et al v. Panarium Kissena Inc. et al,
         • 1:15-cv-03364-SJRML Song v. Tasty Roast House, Inc. et al,
         • 1:15-cv-03058-ENV-LB Feng v. Soy Sauce LLC et al,
         • 1:15-cv-02215-CBA-VMS Guan v. Long Island Business Institute, Inc.
     (challenging racial employment discrimination with lesser pay, more work, and lesser (no)
     benefits for Chinese sanitation workers and a concerted effort to replace them with
     Hispanic workers, as well as overtime violations)
         • 1:15-cv-01769-RRM-RER Song v. NY Fire LLC et al,
         • 1:15-cv-01719-KAM-SMG Lu v. Triborough Construction Services, Inc. et al,
         • 1:14-cv-07587-SLT-RER Hou v. Long Island Business Institute, Inc. et al,
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         • 1:14-cv-06052-BMC Luo v. Liu et al,
         • 1:14-cv-04824-JBW-JO Yu v. Star Bakery, Inc. et al,
         • 1:14-cv-04532-SLT-MDG Gutierrez et al v. 156-40 Grill LLC et al,
         • 1:14-cv-04385-CBA-MDG, Yu v. Panarium Kissena Inc. et al (the lawsuit ended
     Fay Da Bakery’s centralized and uniform practice of illegally deducting meal credit from
     employee paychecks, affecting more than one hundred employees in more than ten Fay Da
     Bakery stores),
         • 1:14-cv-04188-JG-JMA Shi v. New Saigon Restaurant, Inc. et al,
         • 1:14-cv-03435-SLT-RLM Chen et al v. Shanghai Tan Restaurant, Inc. et al,
         • 2:14-cv-01828-JFB-ARL Li et al v. Tyku Sushi & Lounge Inc. et al,
         • 1:14-cv-01719-RML Bai et al v. Eastern Security System, Inc. et al,
         • 2:14-cv-01647-JS-SIL Zhang et al v. Wen Mei Inc. et al,
         • 1:14-cv-01491-WFK-VMS Wang v. Empire State Auto Corp. et al,
         • 1:14-cv-01003-BMC Luo v. L&S Acupuncture, P.C. et al,
         • 1:14-cv-00294-BMC Tan v. Kong,
         • 1:13-cv-05791-PKC-VMS Jiao v. Garden Plaza LLC et al,
         • 1:13-cv-05790-ILG-SMG Bai v. Zhuo et al,
         • 2:13-cv-05233-JFB-AYS Han v. Lin’s Nail Salon Inc. et al,
         • 2:13-cv-04761-LDW-GRB Gao v. Golden Garden Chinese Restaurant Inc. et al
     (reversed Magistrate Judge’s Order directing plaintiff to provide information and
     documents relating to his immigration status),
         • 1:13-cv-04760-RML Chen v. Macro Gan Eden Inc. et al,
         • 2:13-cv-04108-ADS-SIL Li v. Pinwei Life Restaurant Inc. et al,
         • 2:13-cv-03221-ADS-WDW Gu et al v. Philippe North America Restaurants LLC
     et al,
         • 1:13-cv-03220-SLT-RML Zhang v. Joy’s Hair Studio, Inc. et al,
         • 2:13-cv-01628-AKT Li v. Gim Fong Restaurant et al,
         • 2:12-cv-05582-AKT Zhou v. Elaine’s Asian Bistro Corp. et al,
         • 1:12-cv-05008-MKB-SMG Wang et al v. LW Restaurant, Inc. et al,
         • 1:12-cv-03462-BMC Li v. King Wok Chinese Kitchen Inc. et al (featured on World
     Journal on June 18, 2013),
         • 1:12-cv-03461-NGG-RML Pak et al v. Great Neck Mazel Fortune Restaurant LLC
         • 1:12-cv-02779-WFK-VMS Li v. Empire State Auto Corp. et al,
         • 1:12-cv-02147-NGG-SMG Weng v. Minni Shabu Shabu Inc. et al,
         • 1:12-cv-02146-JMA Lin, Chang Mei, v. Yeh’s Bakery, Inc. et al (finding that a
     reasonable jury could conclude that defendant bakery earned over $500,000 annually based
     on plaintiff baker’s estimate in spite of defendant’s tax returns to the contrary),
         • 1:12-cv-01046-SMG Tan et al v. Minni Shabu Shabu Inc. et al,
         • 1:12-cv-01045-FBJ-MA Zhang v. Bally Produce Corp. et al,
         • 2:12-cv-00513-SJFETB Pu v. Qin et al,
         • 1:12-cv-00316-RER Lee et al v. Kim et al,
         • 2:11-cv-05637-LDW-ARL Wang v. Yao et al,
         • 2:11-cv-05636-PKC-SIL Li v. Li et al, and
         • 1:09-cv-05018-JO Gunawan v. Sake Sushi Restaurant, Inc.
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   26. I am the attorney of record for at least one hundred forty one (145) wage-and-hour matters

in the Southern District of New York, including:

           •   1:20-cv-05786-LGS Wu v. Eight Oranges, Inc. et al
           •   1:20-cv-04324-PGG-SDA Chen v. Canteen 82 Inc. et al
           •   1:20-cv-04214-GHW Yang v. SMJ Construction Inc et al
           •   7:20-cv-03904-PMH Liang v. Master Wok, Inc. et al,
           •   7:20-cv-03853-CS Singh et al v. Meadow Hill Mobile, Inc. et al,
           •   7:20-cv-02641-PMH Zhang v. Jun Wei Inc. et al,
           •   1:20-cv-02635-PAE Carranza v. VBFS Inc. et al,
           •   1:20-cv-02633-VSB Hong v. Lin's Garden Restaurant, Inc. et al
           •   1:19-cv-11924-JPO Du v. Dingxiang Inc et al
           •   1:19-cv-11895-JMF Chen v. Matsu Fusion Restaurant Inc et al
           •   1:19-cv-11888 Santos Hernandez v. Relay Delivery, Inc. et al
           •   1:19-cv-11885 Xu v. Kealoha Sushi Inc et al
           •   1:19-cv-11883-GBD Chen et al v. Dun Huang Corp et al
           •   1:19-cv-11882-KPF Weng v. HungryPanda US, Inc. et al
           •   7:19-cv-11881-VB Ji v. Aily Foot Relax Station Inc et al
           •   1:19-cv-11168-UA Sarikaputar et al v. Veratip Corp. et al
           •   1:19-cv-08502-JMF Shi v. TL & CG Inc. et al
           •   1:19-cv-07710-LTS-SN Xi v. Mira Sushi Inc. et al
           •   1:19-cv-07702-LGS Huang et al v. Shanghai City Corp et al,
           •   1:19-cv-07654-VEC Chen v. Lilis 200 West 57th Corp. et al,
           •   1:19-cv-07601-WHP Yu v. Shanghai Dumpling, Inc. et al
           •   1:19-cv-07601-WHP Yu v. Shanghai Dumpling, Inc. et al
           •   1:19-cv-06115-PGG-DCF Chen v. L & H Wine & Liquor, Inc. et al
           •   1:19-cv-05828-PGG-KHP Lu v. Purple Sushi, Inc. et al,
           •   1:19-cv-05616-Yang et al v. An Ju Home Inc. et al,
           •   1:19-cv-05339-UA Dai et al v. King Jade Garden Inc.,
           •   1:19-cv-05310-JGK Wang v. Ren,
           •   1:19-cv-05168 Wang v. Maxim International Group, Inc. et al,
           •   1:19-cv-05145 Wang v. CLL Brothers, Inc. et al,
           •   7:19-cv-05074-NSR Chen v. Spring Nails & Spa Westchester, Inc. et al,
           •   7:19-cv-05073 Hong v. Sushi Village 53, Inc. et al,
           •   1:19-cv-05072-RA Wang v. Xing Yue Inc. et al,
           •   7:19-cv-05018-NSR Hong v. JP White Plains, Inc. et al
           •   1:19-cv-02632-JGK Wu v. Lan Sheng Szechuan Food Inc et al,
           •   1:18-cv-10338-ALC Cao v. 155 S.G.S. CORP et al,
           •   7:18-cv-10334-CS Wan v. YWL USA Inc et al,
           •   1:18-cv-08274 Cao v. M & J Asian Restaurant Inc. et al,
           •   1:18-cv-08259 Zhang v. Four Seasons Beauty Spa, Inc. et al,
           •   7:18-cv-07413 Chen v. Kicho Corporation et al.,
           •   1:18-cv-07342 Tecocoatzi-Ortiz et al, v. Just Salad LLC et al,
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         •   1:18-cv-06442 Gao v. A Canaan Sushi Inc. et al,
         •   1:18-cv-06439 Gao v. Umi Sushi, Inc. et al,
         •   1:18-cv-06430 Li v. Hui Yang Nails & Beauty Spa Inc et al,
         •   1:18-cv-06231 Su v. Wah Fung USA Inc et al,
         •   1:18-cv-06175 Solares-Gonzaga v. Essen22 LLC et al,
         •   1:18-cv-06174 Chang et al v. CK Tours, Inc et al,
         •   1:18-cv-06018 Yeh v. Han Dynasty, Inc,
         •   1:18-cv-05448 Qiu et al v. Shanghai Cuisine, Inc. et al,
         •   1:18-cv-04941 Ye v. 2953 Broadway LLC et al,
         •   1:18-cv-04734-LGS Zhao et al v. Matsu Fusion Restaurant, Inc. et al,
         •   1:18-cv-04690-ER Wu et al v. iFresh Incorporated et al,
         •   1:18-cv-03551-GHW Chen et al v. Koto Japanese Steak House Inc,
         •   1:18-cv-03101-JMF Luo v. Kaiyi Inc. et al,
         •   1:18-cv-01715 Lin et al v. Shanghai Original, Inc. et al,
         •   1:18-cv-00528-GBD Lin v. Yuri Sushi Inc,
         •   1:17-cv-10250 Lawrence v. Curry Shack, Corp.,
         •   1:17-cv-10248 Law v. AAE Express (NY) Corp.,
         •   1:17-cv-10244 Jinquan et al v. Pomodoro Italian Express Inc. et al,
         •   1:17-cv-10243 Su et al v. Hailu Asian Bistro Inc.,
         •   1:17-cv-10242 Apolinar-Mateos v. Bowery Hospitality Associates LLC et al,
         •   1:17-cv-10240 Zhong et al v. Royal Siam Restaurant, Inc et al,
         •   1:17-cv-10161 Hu et al v. 226 Wild Ginger Inc. et al,
         •   1:17-cv-09582 Wang v. Yong Lee Inc. et al,
         •   1:17-cv-09465 Zhang et al v. New Beijing Wok, Inc. et al,
         •   1:17-cv-08791 Gao v. Shine Glory LLC et al,
         •   1:17-cv-08715 Li v. Wok 88 Inc. et al,
         •   1:17-cv-08159 Gao v. Lucky Brother Inc et al,
         •   1:17-cv-07066 Zhang et al v. Hiro Sushi at Ollies Inc. et al,
         •   1:17-cv-06713 Cui v. East Palace One, Inc. et al,
         •   1:17-cv-06197 Dai et al v. Lychee House Inc. et al,
         •   1:17-cv-06153 Chen v. Sushi 21 NY Inc. et al,
         •   1:17-cv-05234 Altamirano v. La Stanza NYC LLC et al,
         •   1:17-cv-04746-ALC Chen v. Ginza Sushi 1688 Inc et al,
         •   1:17-cv-04661-PGG Wu v. Sushi Nomado of Manhattan, Inc. et al,
         •   1:17-cv-04536-PAE Zhang v. Li Feng Eatery Inc. et al,
         •   1:17-cv-04277-PKC Li v. Tina Nail Spa Salon Inc. et al,
         •   1:17-cv-04234-ALC Lin v. Lava Kitchen Inc. et al,
         •   1:17-cv-04058-RA Kwan v. Sahara Dreams Co. II Inc. et al,
         •   7:17-cv-03795-CS Singh et al v. Best NY Contracting, Inc. et al,
         •   1:17-cv-03787-JMF Singh et al v. Dany Restoration Inc. et al,
         •   1:17-cv-02536-UA Chen v. Shanghai Cafe Deluxe, Inc. et al,
         •   1:17-cv-02517-GBD Zhao v. Soho Sushi, Inc. et al,
         •   1:17-cv-02013 Wang v. Happy Hot Hunan Restaurant, Inc et al,
         •   1:17-cv-01938-RMB Zhou v. Legend 72, LLC et al
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         • 1:17-cv-01774-WHP Lin et al v. Teng Fei Restaurant Group Inc. et al,
         • 1:17-cv-00840-VSB Wang et al v. Shun Lee Palace Restaurant, Inc. et al,
         • 1:17-cv-00816-LGS Tangtiwatanapaibul et al v. Tom & Toon Inc et al,
         • 1:17-cv-00814-ALC Sarikaputar et al v. Veratip Corp. et al,
         • 1:17-cv-00802-GBD Chen et al v. Hunan Manor Enterprise, Inc. et al,
         • 1:17-cv-00440-LAP Dai v. Ko-Zushi Japanese Restaurant, Inc. et al,
         • 1:17-cv-00275-UA Zhu v. Atami on 2nd Avenue, Inc. et al,
         • 1:17-cv-00273-LAP Weng et al v. Kung Fu Little Steamed Buns Ramen, Inc. et al,
         • 1:16-cv-09302-LAP Tan v. SHK Management Inc. et al,
         • 1:16-cv-07787-ALC Li v. Chinatown Take-Out Inc. et al,
         • 1:16-cv-07079-JGK Mayoral-Climico et al v. Papa Fresh, Inc. et al,
         • 1:16-cv-07078-JGK Camara et al v. Just Salad 600 Third LLC et al,
         • 1:16-cv-06800-GHW Li v. Hiro Sushi at Ollie’s Inc. et al,
         • 1:16-cv-06762 Mayoral-Climico et al v. Merilu Pizza Al Metro, Inc. et al,
         • 1:16-cv-06677-PGG Mayoral-Climico et al v. Ninth Avenue Wings, Inc. et al.,
         • 1:16-cv-06274-RJS De Los Santos et al. v Hat Trick Pizza, Inc et al,
         • 1:16-cv-06219-ER Liu et al. v. J.R.H. Restaurant Group, Inc. et al,
         • 1:16-cv-05735-GHW Chen et al. v 2425 Broadway Chao Restaurant, LLC, et al,
         • 1:16-cv-04790-WHP Chen v. Shanghai Café Deluxe, Inc. et al,
         • 1:16-cv-04093-JMF Pu v. Matsu, Inc. et al,
         • 1:16-cv-04018-ALC Guerrero Tapia v Applied Underwriters Captive Risk
      Assurance Company, Inc. et al,
         • 1:16-cv-03599-LTS Wang v Hanami Sushi, Inc. et al,
         • 1:16-cv-02015-GBD Shen et al. v John Doe Corporation et al,
         • 1:16-cv-02014-AT Guo v Yahiro Inc et al,
         • 1:16-cv-02012-JGK Chen et al. v. Best Miyako Sushi Corp. et al,
         • 1:16-cv-02005-LGS Chen et al v. H.B. Restaurant Group, Inc. et al,
         • 1:15-cv-8776-AJN Zhang et al v. Lemon Green Corp. et al.,
         • 1:15-cv-8655-KBF Espinobarros Apolinar et al. v. R.J. 49 REST, LLC et al.,
         • 1:15-cv-10186-ER Wen v. Hair Party 24 Hours Inc., et al,
         • 1:15-cv-10185-ALC She v Friedman et al,
         • 1:15-cv-10184-VEC Xing et al v. Fishion, Inc. et al,
         • 1:15-cv-10183-JGK Alvino Rea Rea et al v. Just Salad 600 Third LLC et al,
         • 7:15-cv-09635-VB Zheng et al v. J&J US Trading Inc. et al.
         • 1:15-cv-09507-DCF Lin v. La Vie en Szechuan et al.,
         • 1:15-cv-09370-GHW Zhang et al v. 89 Tenzan Japanese Cuisine Inc et al.,
         • 7:15-cv-09284-VB Lin v. Wild Wasabi, Inc. et al,
         • 1:15-cv-06886-AKH Lin v. Arata Izumi Japanese Restaurant, Inc. et al.,
         • 1:15-cv-06527-AT Guo et al. v. Lemongrass on Broadway Corporation et al.,
         • 1:15-CV-06252-JMF Mao et al v. Sands Bethworks Gaming LLC et al.,
         • 1:15-cv-05434-PGG Cao et al v. Atami on 2nd Avenue, Inc. et al,
         • 1:15-cv-05031-GBD Zhang v. Sunshine USA, Inc. et al,
         • 1:15-cv-04946-VSB Zhang v. Akami Inc. et al,
         • 1:15-cv-04938-JPO Chen v. AKI 36 INC. et al,
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           • 1:15-cv-04433-LGS Li et al v. 8868 Corp et al,
           • 1:15-cv-02449-LTSAJP Chen v. Ho Wong Take-Out, Inc. et al,
           • 1:15-cv-02448-ALC Zhang v. Cha Pa’s Noodles and Grill Corp. et al,
           • 1:14-cv-10243-LGS Che et al v. La Tova, Inc. et al,
           • 1:14-cv-10242-AJN-JCF Li et al v. Ichiro Sushi, Inc. et al,
           • 1:14-cv-10240-LGS Zheng v. China Moon Hospitality Corp. et al,
           • 7:14-cv-10239-LMS Tang v. JP White Plains, Inc. et al,
           • 1:14-cv-10237-VSB Chen v. Empire East 34, Inc. et al,
           • 1:14-cv-09293-VEC Li v. Oliver King Enterprises, Inc. et al,
           • 1:14-cv-07102-SHSJLC Feng et al v. Hampshire Times et al,
           • 1:14-cv-06103-VEC Zhao et al v. L & K Restaurant, Inc. et al,
           • 7:14-cv-04737-LMS He et al v. Kirari Sushi, Inc et al,
           • 1:14-cv-03970-VSB Guan et al v. New Akita Inc. et al,
           • 1:14-cv-03967-JMF Chen v. Y Cafe NYC Inc. et al,
           • 1:14-cv-03964-PAE Guo et al v. Tommy’s Sushi Inc. et al,
           • 1:14-cv-03963-AJN Chen v. Mee Noodle Shop and Grill Inc et al,
           • 1:14-cv-02451-ER Rodpracha et al v. Pongsri Thai Restaurant Corp. et al (certified
       as a Rule 23 class with well over one hundred and fifty (150) members),
           • 1:14-cv-02450-PAE Zhou et al v. Xing et al,
           • 1:14-cv-00269-RJS Najera et al v. Aoyama Sushi Inc. et al,
           • 7:13-cv-07519-NSR Wang v. Qiu Imperial Wok, Inc. et al,
           • 1:13-cv-06667-PAE-JCF Zhang et al v. Lin Kumo Japanese Restaurant Inc. et al,
           • 1:13-cv-07372-VEC Li v. Oliver King Enterprises, Inc. et al,
           • 1:13-cv-06534-ER Yap et al v. Mooncake Foods, Inc. et al,
           • 1:13-cv-06533-PAC Weng et al v. New Kam Lai A LLC et al,
           • 1:13-cv-06532-RMB Liu v. Tasty King, Inc. et al,
           • 1:13-cv-04477-RAFM Lobsang et al v. Sate Restaurant Inc.,
           • 7:13-cv-03887-LMS Luo et al v. The True Grapevine Restaurant, Inc. et al,
           • 7:12-cv-08870-KMK-PED Su et al v. Haiku Asian Bistro Inc. et al
           • 1:12-cv-07503-NRB Liew v. Mooncake Foods, Inc. et al,
           • 1:12-cv-07237-HBP Low et al v. Tian Yu Inc. et al,
           • 1:12-cv-03151-LTS-MHD Gao v. Salaam Bombay, Inc. et al,
           • 1:12-cv-01054-TPG Liang et al v. J.C. Broadway Restaurant, Inc. et al,
           • 1:11-cv-06483-KBF Ni v. Tian Yu Inc. et al,
           • 1:11-cv-04867-NRB Wang et al v. Akita, Inc. et al, and
           • 1:10-cv-03913-BSJ-MHD Sun et al v. Liberty View Restaurant Inc. et al (featured
       on World Journal and Sing Tao Daily on November 26, 2011).



   27. Additionally, I am the attorney of record for thirty-four (40) wage-and-hour matters in the

Northern District of New York, Western District of New York, District of New Jersey, District of
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Connecticut, District of Illinois, District of Massachusetts, District of Minnesota, District of

Pennsylvania, and District of West Virginia:

       •   N.D.N.Y. 3:19-cv-01623-MAD-ML Perez et al v. Escobar Construction, Inc. et al;
       •   N.D.N.Y. 6:19-cv-01488-FJS-ML Li v. Wiwi 1 Nail & Spa Inc et al;
       •   N.D.N.Y. 1:19-cv-00873-TJM-CFH Li v. Spa Nail 9, Inc. et al;
       •   N.D.N.Y. 1:17-cv-00148-MAD-TWD Zhang v. Ichiban Group, LLC et al;
       •   N.D.N.Y. 1:16-cv-00863-DNH-DEP Li v. Ichiban Mei Rong Li Inc. et al;
       •   N.D.N.Y. 1:11-cv-01256-GTS-DRH Low v. Wang et al;
       •   W.D.N.Y. 1:17-cv-00656 Yu v. King Buffet in Springville, Inc. et al;
       •   D.N.J. 2:19-cv-09392-KM-MAH YANG v. TASTE OF NORTH CHINA, LTD et al;
       •   D.N.J. 2:19-cv-12742-CCC-JBC YANG v. SOMCHAI AND COMPANY INC et al;
       •   D.N.J. 2:18-cv-13791 Chen v. Main Moon Lin Inc. et al;
       •   D.N.J. 2:18-cv-11347 Wang et al v. An Da NJ Construction LLC et al;
       •   D.N.J. 3:18-cv-11278 Lin v. Wasabi N’ Wok Inc et al;
       •   D.N.J. 2:18-cv-11277 Li v. Chinese Body Works, Inc et al;
       •   D.N.J. 2:18-cv-10359 Zhang v. Chongqing Liuyishou Gourmet NJ Inc et al;
       •   D.N.J. 2:18-cv-10358 Ding v. Baumgart Restaurat, Inc. et al;
       •   D.N.J. 2:18-cv-09887 Li v. Soup Dumpling Plus Inc. et al;
       •   D.N.J. 2:17-cv-12867 Liu et al v. Cheng Du 23 Inc et al;
       •   D.N.J. 2:16-cv-04798-KM-MAH Yue v. HYC Corp. et al;
       •   D.N.J. 1:16-cv-03634-RBK-JS Zhou v. Best Food in Town I LLC et al;
       •   D.N.J. 2:16-cv-02811-KSH-CLW Goh v. Nori O Inc. et al;
       •   D.N.J. 3:16-cv-02443-MAS-TJB Wang et al v. Saker Shoprites, Inc. et al;
       •   D.N.J. 2:15-cv-07963-MCA-LDW Goh v. Nori O Inc. et al;
       •   D.N.J. 2:15-cv-06310-KM-MAH Goh v. Coco Asian Cuisine, Inc. et al;
       •   D.N.J. 2:15-cv-05530-ES-MAH Ha v. Baumgart Cafe of Livingston et al;
       •   D.N.J. 3:15-cv-02950-MAS-DEA Wang et al v. Chapei LLC et al;
       •   D.N.J. 2:14-cv-00812-MAH Zhou v. Related Restaurant Group, LLC et al;
       •   D.N.J. 2:14-cv-00809-JMV-MF Yin et al v. Hanami Westwood, Inc. et al;
       •   D.N.J. 2:12-cv-02845-SRC-MAS Shu et al v. Noodle Restaurant, Inc. et al;
       •   D. Conn. 3:19-cv-02024-AVC Chang v. Jenny Jn Nails, Inc. et al;
       •   D. Conn. 3:19-cv-02018-AVC Yeung v. New Foliage, Inc. et al;
       •   D. Conn. 3:19-cv-02017-VAB Lu et al v. Diamond Nail Salon, LLC et al;
       •   D. Conn. 3:18-cv-01126-JAM Zheng v. Lydia M.C. LLC et al;
       •   D. Conn. 3:18-cv-00203-CSH Zhen Zhu v. Matsu Corp. et al;
       •   D. Conn. 3:17-cv-01096-JAM Sun v. Panda III Grenwich, Inc. et al;
       •   D. Conn. 3:12-cv-00874 Lin et al v. Wild Rice, Inc. et al;
       •   D. Ill. 1:18-cv-06848 18-cv-06848 Lin v. Monda Window & Door Systems, Inc. et al;
       •   D. Mass. 3:16-cv-40138-KAR Gonpo v. Sonam’s Stonewalls & Art, LLC et al;
       •   D. Minn. 0:17-cv-05069-JRT-HB Wang v. Jessy Corporation et al;
       •   E.D. Pa. 2:17-cv-01073-RBS Tong et al v. Henderson Kitchen Inc. et al; and
       •   D.W.V. 17-cv-00042-IMK You v. Grand China Buffet & Grill, Inc.
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   28. I have written extensively on Fair Labor Standards Act and New York Labor Law

minimum wage, overtime compensation, and record-keeping requirements: my op-ed in

Taiwanese envoy Hsien-Hsien “Jacqueline” Liu’s fraudulent foreign labor contracting of two

Filipino maids has been published in China Times, the fourth largest Taiwanese newspaper in

circulation, and my interviews on wage-and-hour law and requirements have been featured in Sing

Tao Daily, Hong Kong’s second largest newspaper, and World Journal, the largest Chinese-

language newspaper in the United States.

   29. In recognition of my work in the employment law, I have been invited as faculty of the

Public Law Institute, for its wage-and-hour seminar in 2017.

   30. I am a proud member of the National Employment Lawyers Association (“NELA”) and its

NY affiliate, NELA-NY.

   31. I have previously been awarded $550.00 per hour in 2:18-cv-10359-CCC-SCM Zhang v.

Chongqing Liuyishou Gourmet NJ Inc. (D.N.J. Nov. 26, 2019); $400 in Junmin Shen v. Number

One Fresco Tortillas, 16-cv-2015 (RWL) (S.D.N.Y. Feb. 19, 2019); $400 in Baoli Zhang v. New

Beijing wok d/b/a Beijing Wok et al 17-cv-09465 (S.D.N.Y. Mar. 3, 2020); $400 in Tarsem Singh

et al. v. Dany Restoration, Inc. et al. 17-cv-03787 (S.D.N.Y. Sept. 18, 2018).

   32. I respectfully seek an hourly rate of $550.00 per hour.

   2. Aaron Schweitzer
   33. AARON SCHWEITZER is the managing associate at Troy Law. Mr. Schweitzer received

his JD with a concentration in employment law from the Fordham University School of Law in

2016, which also awarded him the Archibald R. Murray Public Service Award cum laude. Mr.

Schweitzer was admitted to the New Jersey State Bar on November 14, 2017 and the New York

State Bar on May 16, 2018. Prior to joining Troy Law in April 2017 as a clerk, Mr. Schweitzer

had extensive experience advocating for workers, including coordinating with organizers for SAG-
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AFTRA’s 2017 videogame voice actors’ strike, assisting Fordham Law’s, John Hopkins’s, and

American University’s food service workers and their unions, and advising worker cooperatives

at Lincoln Square Legal Services. Altogether, Mr. Schweitzer has about two (2) years of legal

experience. During his tenure at Troy Law, since November 2017, Mr. Schweitzer has litigated

over ninety-nine (99) wage-and-hour actions in the federal courts, including the Southern, Eastern,

and Northern Districts of New York, the District of New Jersey, and the District of Massachusetts.

Many of his litigations are multi-plaintiff actions, collective and class actions, and/or wage-and-

hour and employment discrimination actions. He has obtained favorable outcomes in several trials,

including: Li et al v. Chinatown Take-Out Inc. et al, SDNY 7:16-cv-07787-JCM (bench trial);

Singh v. A & A Market Plaza, Inc., EDNY 2:15-cv-07396-AKT (jury trial); Xie v. Sakura Kai I

Inc., et al, 17-cv-07509-ILG-JO (bench trial); and the instant case. As the lead-counsel and first-

chair trial attorney in this case, Mr. Schweitzer obtained a unanimous jury verdict and damages

for Plaintiffs in the amount of $65,394.00 before interest. Additionally, he has obtained favorable

outcomes in numerous motion practices and has also obtained favorable settlements in several

cases. In non-contingent fee structure matters, Mr. Schweitzer charges $350.00 per hour to his

clients. Plaintiff respectfully requests that the Court award an hourly rate of $350.00 for Mr.

Schweitzer’s billable work on this matter.

   34. Aaron Schweitzer is an attorney in 68 cases in the Southern District of New York.

   •   7:20-cv-02641-PMH Zhang v. Jun Wei Inc. et al;
   •   1:20-cv-02635-PAE Carranza v. VBFS Inc. et al;
   •   1:20-cv-02633-VSB Hong, Yingcai v. Lin’s Garden Restaurant Inc. et al;
   •   1:19-cv-11924-JPO Du v. Dingxiang Inc et al
   •   1:19-cv-11895-JMF Chen v. Matsu Fusion Restaurant Inc et al
   •   1:19-cv-11888 Santos Hernandez v. Relay Delivery, Inc. et al
   •   1:19-cv-11885 Xu v. Kealoha Sushi Inc et al
   •   1:19-cv-11883-GBD Chen et al v. Dun Huang Corp et al
   •   1:19-cv-11882-KPF Weng v. HungryPanda US, Inc. et al
   •   7:19-cv-11881-VB Ji v. Aily Foot Relax Station Inc et al
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   •   1:19-cv-11168-UA Sarikaputar et al v. Veratip Corp. et al
   •   1:19-cv-08502-JMF Shi v. TL & CG Inc. et al
   •   1:19-cv-07710-LTS-SN Xi v. Mira Sushi Inc. et al
   •   1:19-cv-07702-LGS Huang et al v. Shanghai City Corp et al,
   •   1:19-cv-07654-VEC Chen v. Lilis 200 West 57th Corp. et al,
   •   1:19-cv-07601-WHP Yu v. Shanghai Dumpling, Inc. et al
   •   1:19-cv-07601-WHP Yu v. Shanghai Dumpling, Inc. et al
   •   1:19-cv-06115-PGG-DCF Chen v. L & H Wine & Liquor, Inc. et al
   •   1:19-cv-05828-PGG-KHP Lu v. Purple Sushi, Inc. et al,
   •   1:19-cv-05616-Yang et al v. An Ju Home Inc. et al,
   •   1:19-cv-05339-UA Dai et al v. King Jade Garden Inc.,
   •   1:19-cv-05310-JGK Wang v. Ren,
   •   1:19-cv-05168 Wang v. Maxim International Group, Inc. et al,
   •   1:19-cv-05145 Wang v. CLL Brothers, Inc. et al,
   •   7:19-cv-05074 Chen v. Spring Nails & Spa Westchester, Inc. et al,
   •   7:19-cv-05018 Hong v. JP White Plains, Inc. et al,
   •   1:18-cv-12333 Zhang v. WM Restaurant Corp,
   •   1:18-cv-12332 Zhang v. Sabrina USA Inc.,
   •   1:18-cv-12329 Feng v. Kelai Corp.,
   •   7:18-cv-12327 Singh v. JGAJ Petroleum, Inc.,
   •   1:18-cv-12220 Geng v. Shu Han Ju Restaurant II Corp et al,
   •   1:18-cv-12202 Lin v. Ginza 685 Inc et al,
   •   1:18-cv-12158 Hu v. Tea Pot 88, Inc. et al,
   •   1:18-cv-10338 Cao v. 155 S.G.S. CORP et al,
   •   1:18-cv-08274 Cao v. M & J Asian Restaurant Inc. et al,
   •   1:18-cv-08259 Zhang v. Four Seasons Beauty Spa, Inc. et al,
   •   7:18-cv-07413 Chen v. Kicho Corporation et al,
   •   1:18-cv-07342 Tecocoatzi-Ortiz et al v. Just Salad LLC et al,
   •   1:18-cv-06442 Gao v. A Canaan Sushi Inc. et al,
   •   1:18-cv-06439 Gao v. Umi Sushi, Inc. et al,
   •   1:18-cv-06430 Li v. Hui Yang Nails & Beauty Spa Inc et al,
   •   1:18-cv-06231 Su v. Wah Fung USA Inc et al,
   •   1:18-cv-06175 Solares-Gonzaga v. Essen22 LLC et al,
   •   1:18-cv-06174 Chang et al v. CK Tours, Inc et al,
   •   1:18-cv-06018 Yeh v. Han Dynasty, Inc et al,
   •   1:18-cv-05448 Qiu et al v. Shanghai Cuisine, Inc. et al,
   •   1:18-cv-04734 Zhao et al v. Matsu Fusion Restaurant, Inc. et al,
   •   1:18-cv-04147 Guo v. A Canaan Sushi Inc.,
   •   1:17-cv-10248 Law v. AAE Express (NY) Corp.,
   •   1:17-cv-10244 Jinquan et al v. Pomodoro Italian Express Inc. et al,
   •   1:17-cv-10240 Zhong et al v. Royal Siam Restaurant, Inc et al,
   •   1:17-cv-10161 Hu et al v. 226 Wild Ginger Inc. et al,
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   •   1:17-cv-09582 Wang v. Yong Lee Inc. et al,
   •   1:17-cv-09465 Zhang et al v. New Beijing Wok, Inc. et al,
   •   1:17-cv-02517 Zhao v. Soho Sushi, Inc. et al,
   •   1:17-cv-02013 Wang v. Happy Hot Hunan Restaurant, Inc. et al,
   •   1:17-cv-00840 Wang et al v. Shun Lee Palace Restaurant, Inc. et al,
   •   1:17-cv-00816 Tangtiwatanapaibul et al v. Tom & Toon Inc et al,
   •   1:17-cv-00814 Sarikaputar et al v. Veratip Corp. et al,
   •   1:17-cv-00802 Chen et al v. Hunan Manor Enterprise, Inc. et al,
   •   7:16-cv-07787 Li v. Chinatown Take-Out Inc. et al,
   •   1:16-cv-07078 Camara et al v. Just Salad 600 Third LLC et al,
   •   1:16-cv-05735 Chen et al v. 2425 Broadway Chao Restaurant, LLC et al,
   •   1:16-cv-02012 Chen et al v. Best Miyako Sushi Corp. et al,
   •   1:16-cv-02005 Chen et al v. H.B. Restaurant Group, Inc. et al,
   •   1:15-cv-04433 Li et al v. 8868 Corp et al,
   •   1:15-cv-02950 Lin v. Grand Sichuan 74 st Inc. et al,
   •   1:14-cv-10242 Li et al v. Ichiro Sushi, Inc. et al,


   35. Aaron Schweitzer is an attorney in 65 cases in the Eastern District of New York.

   •   1:20-cv-01597-ARR-RLM Loh v Kong Kee Food Corp. et al;
   •   1:20-cv-00640-KAM-RER Cooper-Nolasco v. Royal Waste Services, inc et al;
   •   2:19-cv-07313 Chen v. Asian Terrace Restaurant Inc et al.;
   •   1:19-cv-07312 Pascualito v. Musano et al.;
   •   1:19-cv-07304 Tang et al v. Happy Food Restaurant Inc et al;
   •   1:19-cv-07290-ARR-ST Almazo-Ramirez et al v. Ulises Pharmacy, Inc. et al;
   •   2:19-cv-07269-AMD-SMG Shen et al v. Zentao Inc et al;
   •   1:19-cv-07267-BMC Panora v. Deenora Corp et al;
   •   1:19-cv-07266-AMD-SJB Zhang v. Wan Hao Restaurant Inc. et al;
   •   1:19-cv-05458-ENV-JO Stidhum v. 161-10 Hillside Auto Ave, LLC et al;
   •   1:19-cv-05203-CBA-SJB Yang v. Zhou's Yummy Restaurant, Inc. et al;
   •   1:19-cv-04745-MKB-CLP Caicedo Soto v. Miss Laser, Inc. et al;
   •   1:19-cv-04687-PKC-SMG Singh et al v. Golam Mowla Construction, Corp. et al;
   •   2:19-cv-03653-JS-ARL Guo v. JR Asian Fusion Inc et. al.;
   •   2:19-cv-03545 Leong v. Laundry Depot, LLC et al;
   •   2:19-cv-03276 Chen v. LJC Trading New York, Inc. et al;
   •   2:19-cv-03269 Ni v. Red Tiger Dumpling House, Inc. et al;
   •   2:19-cv-03266-JS-GRB Xu v. Kingstech Technologies, LLC. et al;
   •   1:19-cv-03236 Yang v. An Ju Home, Inc. et al;
   •   1:19-cv-03149-LDH-RER Hong v. Mito Asian Fusion, Inc. et al,
   •   1:19-cv-01625-ARR-SMG Stidhum et al v. 161-10 Hillside Auto Ave, LLC et al;
   •   2:19-cv-03545 Leong v. Laundry Depot, LLC et al;
   •   2:19-cv-00630 Chen v. Glow Asian Food, Inc. et al;
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   •   1:18-cv-07446 Zhang v. Create Glory, Inc. et al;
   •   1:18-cv-07341 Wang v. X B B, Inc. et al;
   •   2:18-cv-07001 Yu et. al. v. Kim,;
   •   1:18-cv-06910 Zang v. Daxi Sichuan Inc. et al;
   •   1:18-cv-06616 Xing v. Mayflower International Hotel Group Inc et al;
   •   2:18-cv-06614 Gu v. Lemonleaf Thai Restaurant Mineola Corporation et al;
   •   1:18-cv-06317 Pan et al v. Nutrition Rite Corporation et al;
   •   2:18-cv-05091 Chiu v. American Yuexianggui of LI LLC et al;
   •   1:18-cv-04086 Wei v. Red Panda Asian Bistro Inc et al;
   •   1:18-cv-04085 Wei v. Jing Fu House, Inc. et al;
   •   2:18-cv-03817 Huang et al v. Gel Factory, Corp. et al;
   •   2:18-cv-03266 Wang v. Mandarin Glen Cove, Inc. et al;
   •   2:18-cv-03249 Lin v. Lumix Hibachi Restaurant, Inc. et al;
   •   1:18-cv-00729 Yang et al v. Everyday Beauty Amore Inc. et al;
   •   1:18-cv-00417 Zhu v. Wanrong Trading Corp.;
   •   1:17-cv-07603 Suarez Castaneda et al v. F&R Cleaning Services Corp;
   •   1:17-cv-07601 Zeng v. The Parc Hotel LLC;
   •   1:17-cv-07600 Shum v. JILI Inc et al;
   •   1:17-cv-07547 Zhuang et al v. Huis Garden Restaurant Inc et al;
   •   1:17-cv-07509 Xie v. Sakura Kai I Inc. et al;
   •   1:17-cv-06563 Bi v. Guan Dong Yi Jia, Inc. et al;
   •   1:17-cv-06464 Yip et al v. McDonald's Corporation et al;
   •   1:17-cv-05570 Du v. Ma Roo, Inc. et al;
   •   2:17-cv-04357 Lin v. Autumn Sky Enterprise Corp. et al;
   •   2:17-cv-04202 Yu et al v. Kotobuki Restaurant, Inc. et al;
   •   1:17-cv-03737 Lin v. Monda Window & Door Systems, Inc. et al;
   •   1:17-cv-03435 Lin v. Joe Japanese Buffet Restaurant Inc. et al;
   •   1:17-cv-03181 Huang v. GW of Flushing I, Inc. et al;
   •   1:17-cv-02558 Loo v. I.M.E. Restaurant Inc. et al;
   •   1:17-cv-02174 Hong et al v. 7 Express Restaurant Corp. et al;
   •   1:17-cv-01044 Lin v. Rising Sun Restaurant, Inc. et al;
   •   1:17-cv-00646 Plasencia Sanchez et al v. Vital Drugs, Inc. et al;
   •   1:16-cv-05633 Jin et al v. Shanghai Original, Inc. et al;
   •   2:16-cv-05316 Qu v. Wendy Nail & Spa Inc. et al;
   •   1:16-cv-05185 Shi v. DXN Mike Corporation et al;
   •   1:16-cv-04840 Sun et al v. Sushi Fussion Express, Inc. et al;
   •   2:16-cv-01353 Yang et al v. Flushing Food, Inc. et al;
   •   2:15-cv-07396 Singh v. A & A Market Plaza, Inc. et al;
   •   2:15-cv-06206 Chen v. Marvel Food Services LLC et al;
   •   1:15-cv-03642 Luo et al v. Panarium Kissena Inc. et al;
   •   1:15-cv-02215 Guan v. Long Island Business Institute, Inc. et al; and
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   •   2:14-cv-01647 Zhang et al v. Wen Mei Inc. et al.

   36. Aaron Schweitzer is an attorney in 18 cases in the District of New Jersey.

   •   3:19-cv-13619-BRM-LHG Damian et al v. Mirescu et al;
   •   2:14-cv-00809-JMV-MF Yin et al v. Hanami Westwood, Inc. et al;
   •   2:15-cv-05530-ES-MAH Ha v. Baumgart Cafe of Livingston et al;
   •   2:15-cv-06310-KM-MAH Goh v. Coco Asian Cuisine, Inc. et al;
   •   2:16-cv-02811-KSH-CLW Goh v. Nori O Inc.;
   •   2:16-cv-04798-KM-MAH Yue v. HYC Corp. et al;
   •   2:17-cv-12867-ES-CLW Liu et al v. Cheng Du 23 Inc et al;
   •   2:18-cv-09887-CCC-MF Li v. Soup Dumpling Plus Inc. et al;
   •   2:18-cv-10358-JMV-SCM Ding v. Baumgart Restaurant, Inc. et al;
   •   2:18-cv-10359-JLL-SCM Zhang v. Chongqing Liuyishou Gourmet NJ Inc et al;
   •   2:18-cv-11277-ES-JAD Li v. Chinese Body Works, Inc et al;
   •   2:18-cv-11347-KM-SCM Wang et al v. An Da NJ Construction LLC et al;
   •   2:18-cv-13791-SDW-CLW Chen v. Main Moon Lin Inc. et al;
   •   2:19-cv-09392-KM-MAH Yang v. Taste of North China, LTD et al;
   •   2:19-cv-12742-CCC-JBC Yang v. Somchai and Company Inc et al;
   •   3:15-cv-02950-MAS-DEA Wang et al v. Chapei LLC et al;
   •   3:16-cv-02443-MAS-TJB Wang et al v. Saker Shoprites, Inc. et al; and
   •   3:18-cv-11278-BRM-LHG Lin v. Wasabi N' Wok Inc et al.

   37. Aaron Schweitzer is an attorney in 10 cases in the Northern District of New York, District

of Minnesota, Eastern District of Pennsylvania, District of Illinois, District of Massachusetts, and

District of West Virginia

       •   N.D.N.Y. 3:19-cv-01623-MAD-ML Perez et al v. Escobar Construction, Inc. et al;
       •   N.D.N.Y. 6:19-cv-01488-FJS-ML Li v. Wiwi 1 Nail & Spa Inc et al;
       •   N.D.N.Y. 1:19-cv-00873-TJM-CFH Li v. Spa Nail 9, Inc. et al;
       •   N.D.N.Y. 1:17-cv-00148-MAD-TWD Zhang v. Ichiban Group, LLC et al;
       •   D. Minn 0:17-cv-05069-JRT-HB Wang v. Jessy Corporation et al;
       •   D. Minn 0:19-cv-02692-JNE-DTS Seow et al v. Miyabi Inc. et al;
       •   E.D. Pa. 2:17-cv-01073-RBS Tong et al v. Henderson Kitchen Inc. et al;
       •   D. Ill. 1:18-cv-06848 18-cv-06848 Lin v. Monda Window & Door Systems, Inc. et al;
       •   D. Mass. 3:16-cv-40138-KAR Gonpo v. Sonam’s Stonewalls & Art, LLC et al; and
       •   D.W.V. 17-cv-00042-IMK You v. Grand China Buffet & Grill, Inc.

   38. Mr. Schweitzer was previously awarded $350.00 per hour in 2:18-cv-10359-CCC-SCM

Zhang v. Chongqing Liuyishou Gourmet NJ Inc. (D.N.J. Nov. 26, 2019); $225 per hour in Junmin
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Shen v. Number One Fresco Tortillas, 16-cv-2015 (RWL) (S.D.N.Y. Feb. 19, 2019); $225 per

hour in Baoli Zhang v. New Beijing wok d/b/a Beijing Wok et al 17-cv-09465 (S.D.N.Y. Mar. 3,

2020).

   39. Plaintiffs respectfully request that the Court award an hourly rate of $350.00 for Mr.

Schweitzer’s billable work on this matter.

   3. Leanghour Lim
   40. LEANGHOUR LIM is an Associate at Troy Law. She holds her J.D. from SUNY Buffalo

Law School in 2018 and Master of Law in Intellectual Property Law from Benjamin N. Cardozo

Law School. She was admitted to practice law in the State of New York on March 18, 2019. Prior

to joining Troy Law, Ms. Lim has externed at the Appeals Division of the New York City Law

Department, Office of Corporation Counsel, and Research Foundation for the State University of

New York, where she researched legal and regulatory regimes for pharmaceutical catalysts

recovery and recycling technology.

   41. Leanghour Lim is also a licensed pharmacist in Cambodia who ranked first among the 2014

cohort at the University of Health Sciences Cambodia. She was involved in “BioAsia,” a study of

natural bio-insecticides from Cambodian plant biodiversity to control malaria and dengue vectors,

a cooperation between Faculty of Pharmacy of University of Health Sciences Cambodia, Faculty

of Agriculture of Kasetsart University Thailand, and Faculty of Ethnopharmacology of Aix-

Marseille France. In 2013, her team of three won a Kinal Prize Research Contest as first runners-

up, and she won the University’s English Public Speaking Contest. She later served as an Assistant

to Chief Executive Officer in a private pharmaceutical distributor company and an Assistant to

Executive Director in a leading medical magazine in Cambodia.

   42. Leanghour Lim is an attorney in 30 cases in the Southern District of New York:

   •     2:14 1:19-cv-06120-JGK Li v. Wiwi 1 Nail & Spa Inc et al;
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   •   1:19-cv-02632-JGK Wu v. Lan Sheng Szechuan Food Inc et al;
   •   1:17-cv-07066-JGK Zhang et al v. Hiro Sushi at Ollies Inc. et al;
   •   1:18-cv-05448-ER Qiu et al v. Shanghai Cuisine, Inc. et al;
   •   1:15-cv-10186-ER Wen v. Hair Party 24 Hours Inc. et al;
   •   1:19-cv-07702-LGS Huang et al v. Shanghai City Corp et al;
   •   1:19-cv-07601-WHP Yu v. Shanghai Dumpling, Inc. et al;
   •   1:19-cv-11888 Santos Hernandez v. Relay Delivery, Inc. et al;
   •   1:19-cv-11895 Chen v. Matsu Fusion Restaurant Inc et al;
   •   1:19-cv-11924 Du v. Dingxiang Inc et al;
   •   1:17-cv-10248-KPF Law v. AAE Express (NY) Corp.;
   •   1:18-cv-04941-LAP Ye v. 2953 Broadway LLC et al;
   •   1:18-cv-06175-PAE Solares-Gonzaga v. Essen22 LLC et al
   •   1:18-cv-06174-PAC-RWL Chang et al v. CK Tours, Inc et al;
   •   1:16-cv-05735-GHW Chen et al v. 2425 Broadway Chao Restaurant, LLC et al;
   •   1:19-cv-08502-SN Shi v. TL & CG Inc. et al;
   •   7:18-cv-12327-NSR Singh v. JGAJ Petroleum, Inc.;
   •   7:19-cv-05018-NSR Hong v. JP White Plains, Inc. et al;
   •   1:19-cv-05616-JPO Yang et al v. An Ju Home, Inc. et al;
   •   1:19-cv-06105-VEC Canelas v. Frank & Nino's Pizza Corp. et al;
   •   1:19-cv-11883-GBD Chen et al v. Dun Huang Corp et al;
   •   1:19-cv-11885-PAE-SDA Xu v. Kealoha Sushi Inc et al;
   •   1:17-cv-00802-GBD-GWG Chen et al v. Hunan Manor Enterprise, Inc. et al;
   •   1:16-cv-06219-ER Liu et al v. J.R.H. Restaurant Group, Inc. et al;
   •   1:19-cv-06115-PGG-DCF Chen v. L & H Wine & Liquor, Inc. et al;
   •   1:19-cv-11882-KPF Weng v. HungryPanda US, Inc. et al;
   •   1:20-cv-02633-VSB Hong v. Lin's Garden Restaurant, Inc. et al;
   •   1:18-cv-08259-GHW Zhang v. Four Seasons Beauty Spa, Inc. et al;
   •   7:19-cv-11881-VB Ji v. Aily Foot Relax Station Inc et al;
   •   7:18-cv-07413-PMH-LMS Chen v. Kicho Corporation et al.

   43. Leanghour Lim is an attorney in 21 cases in the Eastern District of New York:

   •   2:19-cv-03269-JMA-AKT Ni v. Red Tiger Dumpling House Inc et al;
   •   1:19-cv-05203-CBA-SJB Yang v. Zhou's Yummy Restaurant, Inc. et al;
   •   1:18-cv-05624-ARR-VMS Jiao et al v. Shang Shang Qian Inc et al;
   •   2:18-cv-03923-ARR-CLP Her v. Song's Family Food 2 Inc et al;
   •   1:19-cv-04745-MKB-CLP Caicedo Soto v. Miss Laser, Inc. et al;
   •   1:18-cv-00417-ILG-JO Zhu v. Wanrong Trading Corp.;
   •   1:17-cv-05570-ERK-SJB Du v. Ma Roo, Inc. et al;
   •   2:18-cv-05256-SJF-ARL Kiang v. Yummy Oriental Restaurant, Inc. et al;
   •   1:19-cv-07290 Almazo-Ramirez et al v. Ulises Pharmacy, Inc. et al;
   •   2:19-cv-07312 Pascualito v. Musano et al;
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      •   2:18-cv-03817-ARR-PK Huang et al v. Gel Factory, Corp. et al;
      •   1:18-cv-06910-AMD-SMG Zang v. Daxi Sichuan Inc. et al;
      •   2:19-cv-03545-ENV-PK Leong v. Laundry Depot, LLC et al;
      •   1:19-cv-04564-ENV-ST Ye v. Estate of Xiao Zhong Li et al;
      •   1:19-cv-04687-PKC-SMG Singh et al v. Golam Mowla Construction, Corp. et al;
      •   1:19-cv-07267-BMC Panora v. Deenora Corp et al;
      •   1:17-cv-07295-SJ-PK Choi v. Jkawon, Inc. et al;
      •   1:17-cv-06563-RML Bi v. Guan Dong Yi Jia, Inc. et al;
      •   1:16-cv-02694-RRM-RML Jiao v. Kitaku Japanese Restaurant, Inc. et al;
      •   2:19-cv-03653-JS-ARL Guo v. JR Asian Fusion Inc et. al.; and
      •   1:19-cv-0545-RPK-JO Stidhum v. 161-10 Hillside Auto Ave, LLC et al.

      44. Leanghour Lim is an attorney in 1 case in the District of New Jersey:

      •   2:19-cv-12742-CCC-JBC Yang v. Somchai and Company Inc et al.

      45. Plaintiffs respectfully request a rate of $250 for Ms. Lim’s work in the present case.

      4. Preethi Kilaru
      46. PREETHI KILARU holds her LLM from SMU Dedman School of Law since December

2017. She graduated from the Karnataka State Law University, CMR Law School since July 2016.

She has worked with Troy Law since April 2018. Prior to joining Troy Law, she has worked as a

legal assistant and advisor in Bangalore, India, specializing in civil practice.

      47. Ms. Kilaru was previously awarded $150 per hour in 2:18-cv-10359-CCC-SCM Zhang v.

Chongqing Liuyishou Gourmet NJ Inc.

      48. Plaintiffs respectfully request a rate of $150 for Ms. Kilaru’s work in the present case.



II.       Fees Requested in the Present Case

      49. In this matter, Troy Law seeks fees for 26.40 of my hours spent on this matter at a rate of

$550.00 per hour and $250.00 per hour for hours spent by current and former Troy Law associates.

The chart below summarized Plaintiff’s requested rates and the amount of time put into this case.

(See Exhibit 1 for the Case Log).
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      Individual               Hourly Rate          Hours Expended               Total Fees

             John Troy                 $550.00                     26.40               $14,520.00

     Aaron Schweitzer                  $350.00                     56.90               $19,915.00

       Leanghour Lim                   $250.00                       3.80                 $950.00

         Preethi Kilaru                $200.00                       8.38               $1,676.00

               TOTAL                                                                   $37,061.00


       A.      Costs Incurred

   50. Additionally, Plaintiff seeks to recover out-of-pocket expenses related to this action in the

amount of $931.06. (See Exhibit 1 for itemized out-of-pocket expenses).


       B.      Total

   51. Troy Law seeks $37,061.00 in fees and $931.05 in costs for a total of $37,922.05 in

connection with this action.

   52. Pursuant to 28 U.S.C. § 1746(2), I declare under penalty of perjury that the foregoing is

true and correct.


Dated: Flushing, NY
       September 7, 2020

                                                 Respectfully submitted,
                                                 TROY LAW, PLLC

                                                  /s/ John Troy
                                                 John Troy
                                                 41-25 Kissena Boulevard, Suite 103
                                                 Flushing, NY 11355
                                                 Tel: (718) 762-1324
                                                 troylaw@troypllc.com
                                                 Attorneys for Plaintiff
